     Case 4:18-cv-00251-JRH-JEG Document 32 Filed 01/02/19 Page 1 of 2

                                                                     FILED
                                                             U.S. DISTRICT COURT
                                                                AUGUSTA 0!V.
                IN THE UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF GEORGIA     2019 JAN "2 PH 3^ l»5
                                SAVANNAH DIVISION



ALTAMAHA         RIVERKEEPER;        ONE
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                                                                SO. DIST. OK OS
HUNDRED MILES; and CENTER FOR A *
SUSTAINABLE COAST, INC.,
                                            ★

                                            -k
        Plaintiffs,
                                            k


                                            *                 CV 418-251
                V.



THE UNITED STATES ARMY CORPS OF
ENGINEERS;       Lieutenant      General
TODD       T.    SEMONITE,      in    His
Official Capacity as Commanding
General of the U.S. Army Corps
of   Engineers;      Colonel      DANIEL
HIBNER,         in     His      Official
Capacity as District Commander
of   the    Savannah    District;     and
TUNIS MCELWAIN, in His Official
Capacity   as  Chief   of the
Regulatory Branch of the U.S.
Army Corps of Engineers,

        Defendants,


SEA ISLAND ACQUISITION, LLC,

        Defendant-Intervenor.



                                     ORDER




       Before the Court is Defendant United States Army Corps of

Engineers' motion to stay.               (Doc. 31.)    On December 21, 2018,

appropriations for funding the Department of Justice ("DOJ") and

other   Federal      Government      operations   lapsed   causing    a   partial

government shutdown.           Because the DOJ is prohibited from engaging

in   its    duties     —     including    litigation   activities    —    without
     Case 4:18-cv-00251-JRH-JEG Document 32 Filed 01/02/19 Page 2 of 2



appropriations, see 31 U.S.C, §§ 1341(a)(1)(B), 1342, Defendant

United States Army Corps of Engineers seeks a stay of this action

and an extension of all deadlines.          Upon due consideration, the

motion to stay (Doc. 31) is GRANTED.          This case is hereby STAYED

until the DOJ's funding is restored, and all pending deadlines in

this matter, if any, are extended for the same number of days as

the DOJ's lapse in funding.

     Additionally, on December 14, 2018, the Court consolidated CV

418-254 into CV 418-251.      (CV 418-254, Doc. 13.)         As a consequence

of the consolidation, the Parties were required to file all future

filings in CV 418-251 only.        As such, the Court hereby DENIES AS

MOOT the motion to stay in CV 418-254.^         (CV 418-254, Doc. 15.)

     ORDER ENTERED at Augusta, Georgia, this^C^^ ^^^ay of January,
2019.




                                                       CHIEF JUDGE
                                    UNITE^^TATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF GEORGIA




1 The Court further directs the Clerk to CLOSE CV 418-254.

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